Case: 4:25-cv-00025-SRW           Doc. #: 1-6        Filed: 01/08/25     Page: 1 of 2 PageID #: 59




                       IN THE CIRCUIT COURT OF ST. LOUIS CITY
                                 STATE OF MISSOURI

DORA PELLETIER,                                  )
                                                 )
                Plaintiff,                       )
                                                 )
vs.                                              )     Case No. 2422-CC11686
                                                 )
SAINT LOUIS UNIVERSITY and                       )
SSM HEALTH CARE GROUP,                           )
                                                 )
                Defendants.                      )

                               NOTICE TO STATE COURT OF THE
                             FILING OF THE NOTICE OF REMOVAL

         Pursuant to 28 U.S.C. § 1446(d), Defendants SSM Health Care Group d/b/a SLUCare

Physician Group and Saint Louis University (together, “Defendants”) hereby notify this Court that

on January 8, 2025, Defendants filed a Joint Notice of Removal in the United States District Court

for the Eastern District of Missouri, thereby removing this civil action to that United States District

Court.

         According to 28 U.S.C. § 1446(d), the Circuit Court for St. Louis City, Missouri, shall

proceed no further with this civil action which is denominated as Case No. 2422-CC11686.

Dated: January 8, 2025                                   Respectfully submitted,

                                                       UB GREENSFELDER LLP

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                                                                                EXHIBIT

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Case: 4:25-cv-00025-SRW   Doc. #: 1-6     Filed: 01/08/25   Page: 2 of 2 PageID #: 60




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                                        2
4910-9020-4935, v. 2
